JOURNAL ENTRY.
This cause came on to be heard upon the transcript of the record of the Court of Appeals of Franklin county and was argued by counsel, and it appearing to the court that said cause originated in the Court of Appeals and was referred to a referee who made findings of facts and conclusions of law, which findings and conclusions were approved and confirmed, by said Court of Appeals, and judgment rendered in favor of the appellee; and it further appearing that no bill of exceptions was signed and allowed disclosing the evidence upon which the report of the referee and the judgment of the Court of Appeals was based, it is ordered and adjudged by this court that the judgment of the said Court of Appeals be and the same hereby is affirmed for want of an adequate record.
Judgment affirmed.
WEYGANDT, C.J., DAY, ZIMMERMAN, WILLIAMS, MYERS, MATTHIAS and HART, JJ., concur. *Page 480 